Case 3:08-cr-30071-DRH-PMF      Document 104     Filed 02/03/10   Page 1 of 1   Page
                                     ID #443



                 IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,

Plaintiff,

v.

JORGE TORRES,

Defendant.                                                No. 08-30071-DRH

                                     ORDER

HERNDON, Chief Judge:

             Before the Court is a Motion to Continue filed by Jorge Torres (Doc.

103).   Specifically, Defendant Torres requests that the sentencing currently

scheduled for February 5, 2010 in this case be continued for thirty (30) days as

Defendant’s counsel will be out of town on law related business and Defendant states

that there has also been recent developments which may change Defendant’s

sentence. The Government does not object to the motion. Therefore, based on the

reasons in the motion, the Court GRANTS Defendant Torres’ motion to continue

(Doc. 103) and CONTINUES the sentencing hearing currently scheduled for February

5, 2010 until March 11, 2010 at 9:30 a.m.

             IT IS SO ORDERED.

             Signed this 3rd day of February, 2010.

                                             /s/ DavidRHer|do|
                                             Chief Judge
                                             United States District Court
